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 4
     Attorney for Plaintiffs
 5   STEVEN DALTON and TINA PIZZO
 6
 7                            UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
                                 (Hon. Thomas J. Whelan)
 9
     STEVEN DALTON and TINA PIZZO,     )                   Case No. 21-cv-2143-W (WVG)
10                                     )
             Plaintiffs,               )                   JOINT MOTION TO CONTINUE
11                                     )                   BRIEFING SCHEDULE ON
     v.                                )                   DEFENDANTS’ MOTION FOR
12                                     )                   SUMMARY JUDGMENT
     COUNTY OF SAN DIEGO and DOES 1-5, )
13                                     )
             Defendants.               )
14                                     )
15         COME NOW the parties to the instant case, by and through their attorneys, and
16   hereby jointly move the Court for an Order continuing the briefing schedule on
17   Defendants’ pending Motion for Summary Judgment/Adjudication, which is currently
18   scheduled to be submitted to the Court for decision on October 2, 2023.
19         Plaintiff’s opposition is currently due September 18, 2023. Due to several other
20   deadlines (an appellate brief due August 23, a response to an FRCP 10(b) motion due
21   August 24, a scheduled vacation, mumerous court appearances, and an opposition to an
22   MSJ/cross motion for MSJ due September 22 (22cv00373- AJB, an FTCA case
23   involving a Border Patrol fatal shooting)), Plaintiff’s counsel, a solo practitioner,
24   cannot complete the opposition on the current schedule.
25         Further, the parties also need time to meet and confer at least ten days before the
26   hearing date regarding the joint statement and defense counsel has a preplanned
27   vacation from September 27 to October 6.
28         An additional 3 weeks or until Monday, October 23 is therefore requested.
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 1   There is no oral argument scheduled in this matter.
 2                                           Respectfully Submitted,
 3   Dated: August 21, 2023                  s/ Keith H. Rutman
                                             KEITH H. RUTMAN
 4                                           Attorney for Plaintiff
                                             Email: krutman@krutmanlaw.com
 5
 6   Dated: August 21, 2023                  Office of County Counsel
 7                                    By:    /s Alexa Katz
                                             ALEXA KATZ
 8                                           Senior Deputy County Counsel
                                             Attorneys for Defendants
 9                                           Email: Alexa.katz@sdcounty.ca.gov
10                              SIGNATURE CERTIFICATION
11         Pursuant to § 2(f) of the Southern District of California's Electronic Case Filing
12   Administrative Policies and Procedures Manual, I hereby certify that the content of this
13   document is acceptable to all persons required to sign the document and have obtained
14   authorization for the electronic signatures of all parties on the document.
15
                                                      Respectfully Submitted,
16
     Dated: August 21, 2023                           s/ Keith H. Rutman
17                                                    KEITH H. RUTMAN
                                                      Attorney for Plaintiffs
18                                                    Email: krutman@krutmanlaw.com
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